            Case 2:18-cr-00092-RAJ Document 219 Filed 01/12/21 Page 1 of 3




 1
                                                           The Honorable Richard A. Jones
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 4
 5                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 6
                                    AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8
                                                        NO. CR 18-092RAJ
                                  Plaintiff,
 9
10
                       v.
                                                        ORDER CONTINUING TRIAL AND
11
                                                        SETTING AMENDED CASE SCHEDULE
      BERNARD ROSS HANSEN and
12
      DIANE ERDMANN,
13                       Defendants.
14
15         The Court, having heard from the parties in open court on December 28, 2020, and
16 having considered the General Orders of the United States District Court for the Western
17 District of Washington addressing measures to reduce the spread and health risks from
18 COVID-19, and those Orders and findings are incorporated herein, hereby makes the
19 following additional findings:
20         1. Given the current state of COVID-19 pandemic, the likely timeline for the
21            distribution of the vaccine, and the resulting effect of this public health
22            situation on the ability for jurors, witnesses, parties, counsel, and Court staff to
23            be present in the courtroom, the February 22, 2021 trial date is stricken.
24         2. The failure to grant a continuance of the trial date in this case would likely
25            result in a miscarriage of justice. Pursuant to 18 U.S.C. § 3161(h)(7)(A), the
26            ends of justice served by continuing the trial in this case outweighs the best
27            interest of the public and the defendant to a speedy trial.
28
     ORDER - 1                                                              UNITED STATES ATTORNEY
                                                                             700 STEWART ST., SUITE 5220
     CR18-092RAJ
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
             Case 2:18-cr-00092-RAJ Document 219 Filed 01/12/21 Page 2 of 3




 1         3. Further, counsel for defendants have other trial and professional obligations in
 2             May 2021 and June 2021 that support the need for a longer continuance. The
 3             failure to grant a continuance in this matter would deny counsel for the
 4             defendants the reasonable time necessary for effective preparation, taking into
 5             account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).
 6         IT IS ORDERED that trial in this matter be continued to July 6, 2021. The period
 7 of time from the date of this order up to an including the date to be set for trial, shall be
 8 excludable time pursuant to 18 U.S.C. § 3161.
 9         FURTHER, the Court, having reviewed the record and files in this case and after a
10 consideration of all relevant information and the circumstances of this case, enters the
11 following scheduling order:
12
                                  Event                                   Deadline/Date
13
        Parties to file motions in limine and any motions re               April 2, 2021
14      jury selection. Responses due April 16, 2021; Noting
15      Date: April 16, 2021

16      Motions Hearing, if necessary                                April 30, 2021, 1:30 p.m.
17      Status Hearing, if necessary                                 May 14, 2021, 10:00 a.m.
18
        Government’s witness list and exhibit list (with bates
19      numbers provided to defense) related to its case-in-               June 1, 2021
        chief; Government to produce Rule 26.2 materials
20
        and Giglio impeachment materials, with continuing
21      obligation as set forth in Rule 16(c)
22      Preliminary Disclosure of Government’s Proposed                    June 7, 2021
23      Charts and Summaries (non-binding and subject to
        amendment)
24
25      Defendants’ witness list related to its case-in-chief;             June 14, 2021
        Defendants to produce Jencks Act and Rule 26.2
26      materials, with continuing obligation as set forth in
27      Rule 16(c)

28
     ORDER - 2                                                             UNITED STATES ATTORNEY
                                                                            700 STEWART ST., SUITE 5220
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                                                                            SEATTLE, WASHINGTON 98101
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            Case 2:18-cr-00092-RAJ Document 219 Filed 01/12/21 Page 3 of 3




1
        Event                                                          Deadline/Date
2
        Parties to file Trial Briefs, Proposed Jury                     June 21, 2021
3       Instructions, Voir Dire, and Verdict Forms
4
        Parties to file Exhibit Lists for cases-in-chief                June 24, 2021
5
        Pretrial Conference                                       June 25, 2021, 10:00 a.m.
6
7       Trial                                                       July 6, 2021, 9:00 a.m.
8
9         SO ORDERED.
10        DATED this 12th day of January, 2021.
11
12                                                     A
13                                                     The Honorable Richard A. Jones
14                                                     United States District Judge
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     ORDER - 3                                                           UNITED STATES ATTORNEY
                                                                          700 STEWART ST., SUITE 5220
     CR18-092RAJ
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
